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UNIIBD STATES DISTRICT COURT                                                IlOC#:        •
SOUTHERN DISTRICT OF NEW YORK
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                                                                            DATE FILED:     j/2 L/f
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JAMES STRESS, PAUL SHREVE, DONALD SHORTER
and JONATHAN TAYLOR, each on behalf of
themselves, individually, and all others
similarly-situated,                                                 Dkt. No.: 1:15-cv-3635-AKH-RLB

                                                                     ORDEROFVOLUNTARY
                                 Plaintiffs,                         DISMISSAL WITH PREJUDICE

         -against-

42ND STREET KITCHEN LLC, d/b/a KTCHN, and ){L
DANCE BAR, LLC, and ANTON WASHINGTON, a/k/a
"GLEN" WASHINGTON, in his individual and professional
capacities,

                                  Defendants.
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         IT IS HEREBY STIPULATED AND AGREED, by and between the parties in the above

captioned action, through their undersigned counsel, that, whereas no party hereto is an infant or

incompetent person for whom a committee has been appointed and no person not a party has an

interest in the subject matter of the action, in accordance with Rule 41 of the Federal Rules of Civil

Procedure, the action be dismissed with prejudice as to all claims against all Defendants that were

not resolved by way of an Offer of Judgment in accordance with Rule 68 of the Federal Rules of

Civil Procedure (i.e., ECF #s 35-41 ), with each party to bear its own fees and cos1s.




SO ORDERED.

Dated:
